       Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 1 of 14




                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO


DAVID SILVER,

        Plaintiff,

v.                                                                  Case No. 18-cv-416 JAP/JHR

HAMRICK & EVANS, LLP,

                 Defendants.

                            MEMORANDUM OPINION AND ORDER

        Plaintiff David Silver, proceeding pro se, filed suit against Defendant Hamrick & Evans

for alleged legal malpractice arising out of an action filed on Plaintiff’s behalf by Defendant in

the Superior Court of California, County of Santa Clara. See Complaint (Doc. 1). On June 15,

2018, Defendant Hamrick & Evans, LLP filed a pre-answer motion to dismiss Plaintiff’s

complaint.1 (Doc. 4). Defendant contends that Plaintiff’s claims against it must be dismissed

under Federal Rules of Civil Procedure 12(b)(5), for insufficient service of process, and 12(b)(2)

for lack of personal jurisdiction, as well as for improper venue under 28 U.S.C. § 1406.

Defendant alternatively requests that the Court transfer this case to the Central District of

California under 28 U.S.C. §§ 1404 and 1406. This motion is fully briefed.2




1
  See DEFENDANT HAMRICK & EVANS, LLP’S FED. R. CIV. P. 12(B) NOTICE OF MOTION AND MOTION
TO DISMISS PLAINTIFF’S COMPLAINT FOR INSUFFICIENT SERVICE OF PROCESS, LACK OF
PERSONAL JURISDICTION, OR IN THE ALTERNATIVE, MOTION TO TRANSFER VENUE (Motion) (Doc.
4). The Court notes that Defendant has attached, as an exhibit to its Motion, Defendant’s Request for Judicial
Notice in Support of Motion to Dismiss or in the Alternative, Motion to Transfer Venue, which itself has several
exhibits. This should have been filed as a separate motion and will not be considered by the Court in reaching a
determination on Defendant’s Motion to Dismiss (Doc. 4).
2
  See RESPONSE TO DEFENDANT HAMRICK & EVANS, LLP’S FED. R. CIV. P. 12(B) NOTICE OF
MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT FOR INSUFFICIENT SERVICE OF
PROCESS, LACK OF PERSONAL JURISDICTION, OR IN THE ALTERNATIVE MOTION TO TRANSFER
VENUE. (Response) (Doc. 7); DEFENDANT HAMRICK & EVANS, LLP’S REPLY TO PLAINTIFF DAVID
SILVER’S OPPOSITION TO 12(B)(6) MOTION TO DISMISS OR TRANSFER VENUE. (Reply) (Doc. 8).

                                                       1
         Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 2 of 14




         Plaintiff also filed two documents related to Defendant’s Motion, one titled “Response to

Defendant Hamrick & Evans, LLP’s Objections to Affidavit of David Silver Filed in Support of

Response to Motion to Dismiss” (Doc. 9), and another “Request for Judicial Notice Concerning

Errors and Omissions in the June 14, 2018 Affidavit of A. Raymond Hamrick” (Doc. 11), both of

which the Court construes as surreplies filed without leave of the Court. See D.N.M. LR-Civ

7.4(b). Finally, Plaintiff filed a motion to correct a statement in his Response (Doc. 12), which

the Court will consider.

         The Court finds that, while service of process was sufficient, the Court lacks personal

jurisdiction over Defendant and venue in the District of New Mexico is improper. Accordingly,

Court will grant Defendant’s Motion, and will order that the case be transferred to the U.S.

District Court for the Central District of California.

    I.       BACKGROUND3

         Plaintiff David Silver is a resident of New Mexico and the owner of several businesses

that “provide leveraged buyout financing services and venture capital funding to clients” within

New Mexico and nationally. (Doc. 1 at ¶ 1). Plaintiff hired Defendant, a California based law

firm, to represent Plaintiff and Plaintiff’s business in a case that was filed in the Superior Court

of California, County of Santa Clara on September 15, 2014 against Tavant Technologies, which

has its place of business in Santa Clara. (Id. at ¶¶ 2, 5). Plaintiff alleges that Defendant

committed legal malpractice by failing to follow Plaintiff’s written instructions directing

Defendant to address certain matters with the California state court. (Doc. 1 at ¶ 4). These

matters included: (1) Tavant’s alleged violation of a Small Business Administration (SBA) rule

prohibiting loans to foreign companies by Small Business Investment Companies (SBIC) (Doc. 1


3
  The following background information comes from Plaintiff’s Complaint (Doc. 1) and is not a final adjudication of
the facts in this case.

                                                        2
          Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 3 of 14




at ¶¶ 9-11); (2) Tavant’s alleged theft of Plaintiff’s online baseball game “Latino Beisbol” (Doc.

1 at ¶¶ 16-17); and (3) Plaintiff’s alleged violation of the H-1B visa program (Doc. 1 at ¶¶ 18-

19). Plaintiff claims these omissions and Defendant’s negligent representation resulted in a

$350,0004 judgment against him and in favor of Tavant Technologies as well as other damages.

(Doc. 1 at ¶¶ 12). On May 2, 2018, Plaintiff filed his Complaint asserting five causes of action

against Defendant: Failure to Employ a Standard of Care (First Cause of Action); Failure to

Follow Client’s Instructions (Second Cause of Action); Inadequate Discovery of Facts (Third

Cause of Action); Negligence (Fourth Cause of Action); and Punitive Damages (Fifth Cause of

Action). (See generally Doc. 1). Plaintiff seeks damages totaling $7,050,0000. (Doc. 1 at ¶ 47).

    II.      ANALYSIS

    A. Service of Process is Sufficient

          Defendant first argues that the Court should dismiss the claims against it for insufficient

service of process under Federal Rule of Civil Procedure 12(b)(5). “Effectuation of service is a

precondition to suit,” Jenkins v. City of Topeka, 136 F.3d 1274, 1275 (10th Cir. 1998), and Rule

12(b)(5) authorizes dismissal of a lawsuit for insufficient service of process. Plaintiff bears the

burden of establishing validity of service. See Fed. Deposit Ins. Corp. v. Oaklawn Apartments,

959 F.2d 170, 174 (10th Cir. 1992). “In evaluating whether Plaintiff has met [his] burden, the

Court may examine materials outside of the complaint including affidavits and other

documentary evidence.” Warden v. DirecTV, LLC, 92 F. Supp. 1140, 1143 (D. N.M. 2015)

(internal quotation marks and citation omitted).

          There is no express provision for service of process under the Federal Rules of Civil

Procedure. However, Rule 4(m) sets forth a time limit for service, indicating that a defendant


4
 Plaintiff claims that the initial judgment against him was $600,000, but that it was reduced to $350,000 after
Plaintiff hired another law firm to assist him in negotiating a reduction. (Doc. 1 at ¶ 12).

                                                          3
      Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 4 of 14




must be properly served within 90 days after the complaint was filed. Rule 4(e)(1) provides that

service on a defendant in a judicial district of the United States can be achieved by following

“state law for serving summons in an action brought in courts of general jurisdiction in the state

where the district court is located or where service is made.” Fed. R. Civ. P. 4(e)(1). The same

rule applies to serving a corporation, partnership, or other unincorporated association. See Fed.

R. Civ. P. 4(h)(1). Accordingly, relevant here are methods for service of process authorized by

New Mexico Rule of Civil Procedure 1-004 and California Code of Civil Procedure §§ 415.10,

et seq. Plaintiff has demonstrated that Defendant was properly served in accordance California

Code of Civil Procedure § 415.20.

       In California service can be accomplished by “personal delivery of a copy of the

summons and of the complaint to the person to be served,” Cal. Code Civ. Proc., § 415.10.

However, substitute service can be made “if a copy of the summons and complaint cannot with

reasonable diligence be personally delivered to the person to be served,” by leaving a copy of the

summons and complaint, during usual office hours at the usual place of business of the person to

be served, with a person who is “apparently in charge thereof,” followed by mailing a copy by

first-class mail to that same location. See Cal. Code Civ. Proc., § 415.20. Two or three attempts

at personal service at a proper place is considered “reasonable diligence” to allow for substitute

service. See Bonita Packing Co. v. O’Sullivan, 165 F.R.D. 610, 615 (C.D. Cal. 1995).

       Defendant contends that, for two reasons, Plaintiff has failed to meet his burden of

establishing valid service: (1) service of the summons and complaint was effected by Plaintiff, a

party to the action, which is not allowed under any of the applicable laws; and (2) the summons

and complaint were improperly delivered by mail and Federal Express. (See Doc. 4 at 2-4; Doc.

8 at 2). In his response, Plaintiff takes the position that mailing the complaint and summons to



                                                4
      Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 5 of 14




Defendant via United States Postal Service Express Mail, which he appears to have attempted

twice, was valid service. (Doc. 7 at 1). These two attempts did not comply with applicable law

regarding service of process and were otherwise unsuccessful.

       However, on July 19, 2018, still within the 90 day window, Plaintiff filed what is titled

“Proof of Service of Complaint on Defendant Hamrick & Evans, LLP” (Doc. 10). Enclosed is

an invoice from Countrywide Process, LLC, a registered California process server, an Affidavit

of Service Summons & Complaint signed by Kimmberly Allen of Countrywide Process, LLC,

and a Declaration of Reasonable Diligence which outlines the steps Ms. Allen took to serve

process on Defendant. (Doc. 10 at 3-6). In the Declaration, Ms. Allen states that she attempted

to personally serve Defendant at its place of business in Burbank, California on three separate

dates, but the person authorized to accept service was not in. (Doc. 10 at 5). Ms. Allen writes that

as a result, on Monday, July 16, 2018, she “Substituted Service on: Hamrick & Evans, LLP

Business” by serving “Jane Doe Receptionist.” (Id.). Ms. Allen then provides a physical

description of the individual served and states that this person is “a Person in charge at least 18

years of age apparently in charge of the office or usual place of business of the person served.”

(Id.). Ms. Allen also mailed a copy of the documents by first-class, prepaid postage to Hamrick

& Evans, LLP the following day. (See id.), Defendant did not file any additional response

contesting Plaintiff’s latest “Proof of Service.”

       The “third time’s a charm,” and the Court finds that this third attempt at service upon

Defendant Hamrick & Evans was effective as substitute service under Cal. Code Civ. Proc. §

415.20. The process server properly noted her efforts to personally serve Defendant, and having

made three attempts to leave the summons and complaint with the person authorized to accept

service for Defendant, accomplished substituted service in the manner prescribed by California



                                                    5
      Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 6 of 14




law. (Doc. 10 at 3-6). Since Defendant filed no response challenging Plaintiff’s “Proof of

Service” and did not request to file a response, the Court finds that service was properly effected.

   B. The Court Lacks Personal Jurisdiction Over Defendant

       Defendant next argues that the Court should dismiss Plaintiff’s complaint because the

Court lacks personal jurisdiction over Hamrick & Evans. (See Doc. 4 at 5-10). As with validity

of service, “[t]he plaintiff bears the burden of establishing personal jurisdiction over the

defendant.” Behagen v. Amateur Basketball Ass’n, 744 F.2d 731, 733 (10th Cir. 1984). “Where a

district court considers a pre-trial motion to dismiss for lack of personal jurisdiction without

conducting an evidentiary hearing, the plaintiff need only make a prima facie showing of

personal jurisdiction to defeat the motion.” AST Sports Sci., Inc. v. CLF Distribution Ltd., 514

F.3d 1054, 1056-57 (10th Cir. 2008). This can be achieved “by demonstrating, via affidavit or

other written materials, facts that if true would support jurisdiction over the defendant.” TH

Agric. & Nutrition, LLC v. Ace European Grp. Ltd., 488 F.3d 1282, 1286 (10th Cir. 2007)

(internal quotation marks omitted). Factual disputes in the parties’ affidavits must be resolved in

Plaintiff’s favor. See Dudnikov v. Chalk & Vermilion Fine Arts, Inc., 514 F.3d 1063, 1070 (10th

Cir. 2008). “[T]of defeat a prima facie showing of jurisdiction, the defendant must demonstrate

that the presence of some other considerations would render jurisdiction unreasonable.” TH

Agric. & Nutrition, LLC, 488 F.3d at 1286 (internal quotation marks and citation omitted).

       “To obtain personal jurisdiction over a nonresident defendant in a diversity action, a

plaintiff must show that jurisdiction is legitimate under the laws of the forum state and that

exercise of jurisdiction does not offend the due process clause of the Fourteenth Amendment.”

Id. at 1286-87 (internal quotation marks omitted); see also Fed. R. Civ. P. 4(k)(1) (providing that

federal courts may exercise personal jurisdiction over a defendant “who is subject to the



                                                 6
        Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 7 of 14




jurisdiction of a [state] court…in the state where the [federal] court is located”). “Fed. R. Civ. P.

4(k)(1) refers the Court to the New Mexico long-arm statute, 5 which is coextensive with

constitutional limits imposed by the Due Process Clause.” Trujillo v. Williams, 465 F.3d 1210,

1217 (10th Cir. 2006). “Thus, if jurisdiction is consistent with the Due Process Clause, then

New Mexico’s long-arm statute authorizes jurisdiction over a nonresident defendant.” Id.

         “The Supreme Court has held that, to exercise jurisdiction in harmony with due process,

defendants must have ‘minimum contacts’ with the forum state, such that having to defend a

lawsuit there would not ‘offend traditional notions of fair play and substantial justice.’”

Dudnikov, 514 F.3d at 1070 (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)).

An out-of-state defendant’s contacts with the forum state may give rise to either general

jurisdiction or specific jurisdiction. See Old Republic Ins. Co. v. Continental Motors, Inc., 877

F.3d 895, 903 (10th Cir. 2017).

    1. General Jurisdiction

         “General personal jurisdiction means that a court may exercise jurisdiction over an out-

of-state party for all purposes.” Id. “A court may assert general jurisdiction over

foreign…corporations to hear any and all claims against them when their affiliations with the

State are so continuous and systematic as to render them essentially at home in the forum State.”

Id. at 904 (internal quotation marks and citation omitted). “Because general jurisdiction is not

related to the events giving rise to the suit, courts impose a more stringent minimum contacts




5
  New Mexico’s long-arm statute, NMSA 1978, § 38-1-16, provides that “[a]ny person, whether or not a citizen or
resident of this state, who in person or through an agent does any of the acts enumerated in this subsection thereby
submits himself or his personal representative to the jurisdiction of the courts of this state as to any cause of action
arising from: (1) the transaction of any business within this state; (2) the operation of a motor vehicle upon the
highways of this state; (3) the commission of a tortious act within this state; [or] the contracting to insure any
person, property or risk located within this state at the time of contracting.”

                                                            7
      Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 8 of 14




test, requiring the plaintiff to demonstrate the defendant’s continuous and systematic general

business contacts.” Id. (internal quotation marks and citation omitted).

       Defendant argues in its Motion, supported by an affidavit from Defendant’s managing

partner, that it does not have the requisite continuous and systematic contacts with New Mexico.

(Doc. 4 at 6-7; Doc. 4-3, Declaration of A. Raymond Hamrick, III). In his complaint, Plaintiff

claims that Defendant is “a resident of California engaged in interstate commerce through its

legal services in California, other states and in the State of New Mexico, see Doc. 1 ¶ 2, but

alleges no facts in the Complaint and insufficient facts in his Response to suggest Defendant’s

contacts satisfy the general jurisdiction standard. The Court finds that it lacks general jurisdiction

over Defendant.

   2. Specific Jurisdiction

       “Specific jurisdiction means that a court may exercise jurisdiction over an out-of-state

party only if the cause of action relates to the party’s contacts with the forum state.” Old

Republic Ins. Co. 877 F.3d at 904. The defendant’s relationship with the plaintiff is not sufficient

to create the necessary minimum contacts. Walden v. Fiore, 571 U.S. 277, 286 (2014). Rather,

“the relationship must arise out of contacts that the defendant [itself] creates with the forum

State,” and “the defendant’s contacts with the forum State itself.” Id. at 284.

        To determine whether a party has sufficient minimum contacts to establish specific

personal jurisdiction, courts examine: “(1) whether the defendant purposefully directed its

activities at residents of the forum state; (2) whether the plaintiff’s injury arose from those

purposefully directed activities; and (3) whether exercising jurisdiction would offend traditional

notions of fair play and substantial justice.” Newsome v. Gallacher, 722 F.3d 1257, 1264 (10th

Cir. 2013).   “Purposeful direction” is indicated by the existence of three factors: (a) “an



                                                  8
       Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 9 of 14




intentional action,” (b) that was “expressly aimed at the forum state,” (c) “with knowledge that

the brunt of the injury would be felt in the forum state.” Dudnikov. 514 F.3d at 1072.

         Defendant contends that not only are facts lacking to support a finding that Defendant

“purposely availed itself of the benefits of conducting business in New Mexico; in fact, it did not

conduct business in New Mexico at all.” (Doc. 4 at 8). Citing to a declaration from Defendant’s

managing partner A. Raymond Hamrick, III, Defendant notes that it is not licensed to do

business in New Mexico, that it does not and has not solicited business in New Mexico, that it

does not advertise its services in New Mexico or knowingly direct any marketing efforts to New

Mexico residents, that it has no offices, accounts, assets or property in New Mexico, and that

none of its partners live in New Mexico. (Doc. 4 at 7; Hamrick Decl. ¶¶ 13-18). Defendant

claims that, other than this instant action, Defendant “has no active litigation matters in any New

Mexico court and has never brought or defended any action of any kind in New Mexico.” (Doc.

4 at 7; Hamrick Decl. ¶¶ 19).

         While Plaintiff’s Complaint alleges no facts that are relevant to establishing minimum

contacts, see generally, Doc. 1, Plaintiff offers in his Response and attached affidavit that

Hamrick & Evans’ partner Martin J. Barab, a New Mexico resident, “aggressively solicit[ed]”

Plaintiff in Santa Fe, New Mexico for the purpose of conducting legal services. Plaintiff

contends that he met with Mr. Barab in New Mexico on five occasions. (Doc. 7 at 4). According

to Plaintiff, “Barab began courting Plaintiff for Plaintiff’s legal business with a phone call to

Plaintiff on August 1, 2013 inviting Plaintiff to lunch.”6 (Doc. 7 at 2). The two had lunch at

Harry’s Road House with another individual, though Plaintiff does not state the purpose or

content of that meeting. (See id.; Ex. 3, to Doc. 7, Silver Affidavit). Plaintiff notes that

6
 Plaintiff filed a Motion to Correct the Record (Doc. 12) to inform the Court that he was first introduced to Mr.
Barab in September of 2012, a year earlier than Plaintiff had stated in his Response. The Court will note the
correction, though it does not alter the Court’s analysis here.

                                                          9
      Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 10 of 14




approximately a year later, Plaintiff required assistance submitting a screenplay and online

baseball game and that “as a favor to Plaintiff, Barab who is an active financier of movies” sent

the screenplay to a company on his behalf. (Doc. 7 at 3; Ex. 5 to Doc. 7, Barab Letter). Mr.

Barab apparently also advised Plaintiff on how to borrow against the State of New Mexico

movie credit for a film being shot in New Mexico when the film’s producers approached

Plaintiff regarding how to raise capital from lenders. (Doc. 7 at 3; Ex. 3, to Doc. 7, Silver

Affidavit). Finally, Plaintiff states Mr. Barab “invited me to lunch at Il Piatto restaurant on July

1, 2014 where he suggested we order the fried chicken livers.” (Ex. 3 to Doc. 7, Silver

Affidavit). Plaintiff flew to California on November 3, 2014 to meet two of Defendant’s

partners, and hired Defendant. (Doc. 7 at 3; Ex. 3 to Doc. 7, Silver Affidavit). On behalf of

Defendant, Mr. Barab signed the Legal Representation Agreement with Plaintiff.7 (Ex. 2 to Doc.

7, Legal Rep. Agreement). Plaintiff emphasizes that any work he conducted on the case against

Tavant Technologies was done from New Mexico, and that he never entered the courthouse

where the case was adjudicated. (Ex. 3 to Doc. 7, Silver Affidavit).

         Resolving any conflict in the parties’ affidavits in Plaintiff’s favor, the Court finds

Plaintiff has not met his burden for establishing specific personal jurisdiction over Defendant.

The Tenth Circuit, agreeing with a majority of jurisdictions, held “that an out-of-state attorney

working from out-of-state on an out-of-state matter does not purposefully avail himself of the

client’s home forum’s laws and privileges, at least not without some evidence that the attorney

reached out to the client’s home forum to solicit the client’s business.” Newsome, 722 F.3d at

1280-81. The court further stated that “even though a client may feel the effects of the lawyer’s



7
 Plaintiff states that he hired Defendant on November 3, 2014, the same day that he flew to California, but the Legal
Representation Agreement submitted to the Court is dated July 28, 2014 and appears to have been signed in August
2014. It is unclear where that agreement was signed.

                                                         10
     Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 11 of 14




misdeeds in the client’s home forum, the client cannot sue the lawyer there on that account

alone.” Id. at 1280.

       While it appears that Mr. Barab and Plaintiff formed some type of relationship after being

introduced by a third party (Doc. 12 at 1), Plaintiff has not alleged sufficient facts demonstrating

that Defendant purposefully sought out Plaintiff’s business or had otherwise sufficient minimum

contacts with New Mexico for this Court to acquire personal jurisdiction over Defendant. As a

preliminary matter, Defendant asserts by affidavit that Mr. Barab is not a partner of Hamrick &

Evans and was never instructed or authorized to solicit, engage in, or develop business in New

Mexico. (Doc. 8 at 304; Doc. 8-1, Hamrick Suppl. Dec.). Based on Plaintiff’s Exhibit 5, a letter

Martin Barab sent to a production company “as a favor” on Plaintiff’s behalf, the Court notes

that Mr. Barab is in fact listed as “of counsel” at Hamrick & Evans. An attorney serving in an “of

counsel capacity” is one “who is affiliated with a law firm, though not as a member, partner, or

associate.” Black’s Law Dictionary (10th ed. 2014) (defining “of counsel”).

       Moreover, even if Mr. Barab had been authorized by Defendant to solicit Plaintiff’s

business, Plaintiff’s representation of the facts, on their face, does not support his statement that

Mr. Barab was “aggressively” soliciting Plaintiff’s business on behalf of Defendant. Mr. Barab

met with Plaintiff five times over a two-year period. Plaintiff admits that, on at least two

occasions, Mr. Barab simply did a favor for him at Plaintiff’s request. One time during a lunch

the two men apparently discussed fried chicken livers. At another meeting, Plaintiff and Mr.

Barab had lunch, with another individual present, though Plaintiff does not say whether the

litigation that serves the basis for his malpractice claims was discussed.

       The subject matter of the representation at issue was a lawsuit involving contractual

disputes subject to California law. All business on behalf of Plaintiff related to the lawsuit was



                                                 11
     Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 12 of 14




done in California by a California based law firm with California lawyers. And while Plaintiff

asserts that any work he did on the lawsuit occurred from New Mexico, “[c]ontact by phone or

mail is insufficient to justify exercise of personal jurisdiction under the due process clause.”

Porter v. Beal, 293 F.3d 1073, 1076 (8th Cir. 2002). Defendant is not registered to do business in

New Mexico, it does not maintain an office in New Mexico, and it does not advertise for or

solicit business in New Mexico. Defendant asseverates that, in fact, other than the present

litigation it has never had a case in New Mexico courts. Rather, Defendant’s attorneys provided

advice to Plaintiff on California law from their offices in California. And any alleged injury

suffered by Plaintiff arose from those proceedings in California state court. These actions do not

demonstrate sufficient minimum contacts with New Mexico.            Accordingly, the Court will

dismiss the case for lack of personal jurisdiction of Defendant Hamrick & Evans.

   C. The District of New Mexico is an Improper Venue

       Finally, even assuming arguendo that the Court has personal jurisdiction over Defendant,

the Court agrees with Defendant that the District of New Mexico is an improper venue for this

case. Venue for cases before the federal court is governed by 28 U.S.C. § 1391. The provision

provides, in relevant part, that venue is proper in a judicial district in which any defendant

resides or “in which a substantial part of the events or omissions giving rise to the claim

occurred.” 28 U.S.C. § 1391(a)(1)-(2). “The substantiality requirement of 28 U.S.C. § 1391(a)(2)

is intended to preserve the element of fairness so that a defendant is not haled into a remote

district having no real relationship to the dispute.” Whiting v. Hogan, 855 F. Supp. 2d 1266, 1284

(D. N.M. 2012). If there is no district in which an action may otherwise be brought, venue is

proper in any judicial district in which the defendant is subject to the Court’s personal

jurisdiction. See 28 U.S.C. § 1391(a)(3).



                                               12
     Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 13 of 14




       Here, Defendant Hamrick & Evans is a resident of California. (Doc. 1 at ¶ 2). Moreover,

the District of New Mexico is not a judicial district in which a substantial portion of the events

giving rise to Plaintiff’s claims occurred. Rather, Plaintiff’s claims arose out of alleged legal

malpractice committed by Defendant, a California-based law firm, in a case litigated in a

California state court, against a California company, Tavant Technologies. (Doc. 1 at ¶¶ 4-5.

Plaintiff attempts to counter Defendant’s suggestion of improper venue by addressing law and

facts that, while relevant to a Court’s determination about personal jurisdiction, are not relevant

to venue. Because a federal judicial district in California would be a proper venue under Section

1391(b)(2), the catch all provision in Section 1391(b)(3) does not apply. The Court holds that

the District of New Mexico is not a proper venue.

   D. The Court Will Transfer the Case to the U.S. District Court for the Central District
      of California

       Defendant asks the Court to dismiss the case for lack of personal jurisdiction and

improper venue or, alternatively, to transfer the case to the United States District Court for the

Central District of California. (Doc. 4 at 11-12). Plaintiff did not address Defendant’s alternative

request to transfer the action. Under 28 U.S.C. § 1406, a district court may cure a venue defect

by dismissing the case, or, if it is in the interests of justice, by transferring the case to “any

district or division in which it could have been brought.” Similarly under 28 U.S.C. § 1631, to

cure want of jurisdiction a court “shall, in the interest of justice, transfer such action…to any

other such court in which the action…could have been brought at the time it was filed or

noticed[.]” It appears that Plaintiff could have brought his action in the Central District of

California at the time the action was originally filed in the District of New Mexico, and the

Central District of California likely has personal jurisdiction over Defendant based on the

jurisdictional facts presented here.

                                                13
      Case 1:18-cv-00416-JAP-JHR Document 13 Filed 08/09/18 Page 14 of 14




       The Court finds that transfer, rather than dismissal, would be in the interests of justice.

See 28 U.S.C. §§ 1406, 1631. The vast majority of potential witnesses in this action, including

the attorneys who worked on the Tavant Technologies litigation at the center of this lawsuit, live

and work in California. The limitations period for a legal malpractice claim arising from a civil

action is governed by Cal. Code of Civ. Proc., § 340.6 which provides that such action for a

wrongful act or omission, other than for actual fraud, “shall be commenced with one year after

the plaintiff discovers, or through the use of reasonable diligence should have discovered, the

facts constituting the wrongful act or omission, or four years from the date of the wrongful act or

omission, whichever occurs first,” unless tolling applies. The timing of events, including actual

or imputed discovery of Defendant’s alleged wrongful acts or omissions, is not clear to the Court

on the face of Plaintiff’s complaint, other than noting that the California state action at issue was

filed in September 2014. (Doc. 1 at ¶ 5). However, avoidance of risk of any possible limitations

issues further supports a transfer. Finally, Plaintiff did not respond to Defendant’s suggestion of

transfer as an alternative to dismissal. In the interest of justice the Court will transfer this civil

action to the United States District Court for the Central District of California.

       IT IS THEREFORE ORDERED that Defendant Hamrick & Evans, LLP’s Fed. R. Civ. P.

12(b) Notice of Motion and Motion to Dismiss Plaintiff’s Complaint for Insufficient Service of

Process, Lack of Personal Jurisdiction, and Improper Venue, Or in the Alternative, Motion to

Transfer Venue (Doc. 4) is GRANTED, and the Court will transfer this case to the United States

District Court for the Central District of California.




                                                         ________________________________
                                                         SENIOR UNITED STATES DISTRICT JUDGE



                                                  14
